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PoLLY si`</HTH; JoA‘N"N MORRIS
MARTY COOPER, ADELIA HARTZOG,
and PAUL D. PITTMAN,

on behalf of themselves and all others
similarly situated,

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PlaintiHs,

CIVIL ACTION NUl\/[BER:
CV-03 -A-748-N
JURY DEMAND

VS.

RITE AID CORPORATION,

Defendants.

PLAINT[FFS’ NOTICE OF FILING CERTAIN EVIDENTIARY
SUBMISSION DOCUMENTS UNDER SEAL PURSUANT TO THE
CONFIDENTIALITY AGREEMENT AND ORDER GOVERNING THE
EXCHANGE AND PROTECTION OF CONFIDENTIAL INFORMATION

COME NOW the plaintiffs, by and through the undersigned counsel, and files the following
Evidentiary Submission documents “under seal" pursuant to The Coniidentiality Agreement and
Order Governing the Exchange and Protection of Coniidential Information (attached hereto as
Exhibit "A"):

The documents that are attached “under seal“ are as follows:

4. Excerpts from Wayne M. LeClair Deposition

5. May 18, 2001 l\/lemorandum regarding Pay Structure Changes

9. Region Map

ll. Management Development Program - Orientation

33

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12. Retail Career Paths

13. Key Supervisor Job Description

l4. Exempt Assistant Store Manager Job Description

15. Non-Exempt Assistant Store Manager Job Description

16. Store Manager Job Description

18. Hiring and Promotional Policy

l9. Policies and Procedures Manual Acknowledgment Form

21 . Workweek Policy

22. Standard Schedules

34. Management Development - Checking Budget

35. Excerpts from Rite Aid Policies and Procedures Manual
Respectfully submitted,
ge / L\ 1
Rocco Calamusa Jr
Craig L. Lowell
Counsel for the Plaintiffs

OF COUNSEL:

WIGGINS, CH[LDS, QUINN & PANTAZIS, P.C.
1400 SouthTrust Tower
Birmingham, Alabama 35203

205/328-0640

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CERTIFICATE OF SERVICE

l do hereby certify that I have mailed a copy of the above and foregoing, U.S. Mail, properly
addressed and postage prepaid, on:

Nancy E. Rafilse

Daniel E. Turner

ASHE & RAFUSE, LLP
1355 Peachtree Street, NE
Suite 500

Atlanta, GA 30309-3232

David J. Middlebrooks

Jennifer L. Howard

LEHR, MIDDLEBROOKS, PRICE & vREELAND, PC
P.O. BOX 11945

Birmingham, Alabama 35203

This the _/i day of March, 2004.

LCNALV ah

o'F CoUNSEL

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EXL BITS

 

 

 

 

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SEALED DOCUMENTS

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